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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  Regeneron Pharmaceuticals, Inc.,

                Plaintiff,

  v.                                            C. A. No.: Case #1:22-cv-00697-RGA-JLH
  Amgen Inc.,                                    5('$&7('38%/,&9(56,21
                                                 ),/('6HSWHPEHU
                Defendant.


  PLAINTIFF REGENERON PHARMACEUTICALS, INC.’S MEMORANDUM OF LAW
      IN OPPOSITION TO DEFENDANT AMGEN INC.’S MOTION TO DISMISS


 Dated: September 26, 2022



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                                PRELIMINARY STATEMENT

        In its hundred-page Complaint, Regeneron described in detail how Amgen launched an

 unlawful bundling scheme to squash competition in the market for cholesterol-lowering PCSK9

 inhibitors, where Amgen’s Repatha® competes with Regeneron’s Praluent®. Regeneron explained

 how Amgen leverages anticompetitive, below-cost bundled rebates on its blockbuster products in

 unrelated markets to force key intermediaries (“Third-Party Payors” or “PBMs”) to exclude

 Praluent® in favor of Repatha®, causing substantial harm to competition and patients.1

        In particular, Regeneron offered extensive allegations about the nature of the relevant

 markets, including about Repatha®’s monopoly power, and described the dominance of Amgen’s

 blockbuster drugs Otezla® and Enbrel®. Compl. ¶¶ 102–23. Regeneron further alleged that Amgen

 “offer[ed] and enter[ed] into illegal, anticompetitive bundled rebate agreements” by presenting key

 intermediaries with “an offer they cannot refuse, and one that Regeneron cannot match.” Id. ¶ 68.

 And Regeneron described how Amgen’s bundled rebates resulted in below-cost pricing, id. ¶¶ 69–

 94, foreclosed a substantial portion of the market, and rendered Regeneron “unable to compete

 viably,” id. ¶¶ 95–101. Far from limiting its allegations to the terms of any particular contract,

 Regeneron cited Amgen’s negotiations with Third-Party Payors, id. ¶ 78, and emphasized how

 Amgen’s anticompetitive bundling was part of a broader scheme to restrict Regeneron’s market

 access, id. ¶¶ 59–67, consistent with Amgen’s past multi-product bundling practices, id. ¶ 118.

 Regeneron’s allegations are far more detailed than those this Court found sufficient to state a

 plausible claim in a similar recent case—a case Amgen fails to cite, much less distinguish. See

 3Shape TRIOS A/S v. Align Tech., Inc., 2020 WL 2559777 (D. Del. May 20, 2020), R. & R.

 adopted, 2020 WL 6938054 (D. Del. Nov. 25, 2020).


 1
  Terms not defined herein adopt the definitions given in Regeneron’s Complaint. Emphasis in
 bold, italic text is not in the original source unless otherwise noted.
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        Unable to challenge the legal sufficiency of Regeneron’s allegations—which is the proper

 purview of a Rule 12(b)(6) motion—Amgen leaps ahead and attempts to disprove them. But

 Amgen’s ploy to short-circuit the judicial process and avoid discovery into and scrutiny of its

 unlawful practices utterly fails for a number of reasons. Amgen centers its Motion on a few of its

 confidential, highly redacted contracts with third parties that are not part of the Complaint. Indeed,

 Regeneron had never seen the contracts before. But Amgen urges the Court to dismiss this case at

 the pleading stage based on its cherry-picked record that somehow, according to Amgen, disproves

 Regeneron’s claims. That, of course, is not how Rule 12(b)(6) works and would turn the proper

 judicial process on its head. Amgen’s attempt to bend the rules and turn its motion to dismiss into

 a premature bench trial, based on an incomplete, self-serving record, fails three times over.

        First, evidence outside the Complaint and previously unavailable to a plaintiff cannot be

 considered on a motion to dismiss. Amgen attempts to shoehorn this evidence into the pleadings

 record on the theory that the Complaint is “based on” those contracts. But that narrow exception

 does not apply where, as here, a plaintiff necessarily could not have relied on the documents when

 bringing suit because they are confidential. Because Amgen’s improper evidence is so essential to

 its arguments, its Motion should be denied on this ground alone.

        Second, Amgen’s artificial and incomplete record, even if accepted at face value, does not

 refute Regeneron’s allegations. Regeneron’s allegations about Amgen’s anticompetitive scheme

 extend far beyond the four corners of the contracts Amgen chose to include. And this makes sense:

 as one court put it, “aspiring monopolists” generally are not “foolish enough to reduce their entire

 anticompetitive agreement to writing”; instead, “all manner of extrinsic evidence” is available to

 illuminate the true scope of the anticompetitive conduct. In re Wholesale Grocery Prods. Antitrust

 Litig., 752 F.3d 728, 734 (8th Cir. 2014). That is what Regeneron alleges here.



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         Third, even if the Court reviews Amgen’s improperly submitted and heavily redacted

  contracts, they in fact corroborate Regeneron’s allegations of multi-product rebates. For example,

  the contracts confirm that Third-Party Payors who cover Otezla® and Enbrel® receive a significant

  additional rebate conditioned on excluding Praluent®. Amgen disputes how these contracts should

  be read and the size of its rebates, but these are factual questions unripe for resolution here. At a

  minimum, the opaque contracts demand discovery to clarify their context and economic effects.

         Amgen’s Motion hardly disputes anything that matters at the pleading stage. Indeed,

  Amgen concedes that it uses a multi-product bundled rebate conditioned on exclusive coverage

  of Repatha®, and that—if the commercial practice is as Regeneron alleges—it results in predatory

  pricing. While Amgen claims that Otezla® has no role in the bundle, that claim is plainly false.

  More still, Amgen does not dispute the sufficiency of Regeneron’s market definitions and it

  concedes Otezla®’s monopoly power. And Amgen does nothing to independently challenge

  Regeneron’s distinct state-law claims. These omissions are fatal to Amgen’s Motion.

         At most, Amgen disputes the precise composition, magnitude, and effect of its bundle—

  but these are fact-intensive arguments that cannot be resolved at this stage, and certainly not on

  the selective, extra-pleading record Amgen has submitted here. Amgen likewise speculates about

  the future impact of its bundle due to a recently launched product, Leqvio®, another PCSK9

  inhibitor, like Praluent® and Repatha®, that works by a completely different mechanism and is not

  a pharmacy-dispensed product subject to the same PBM contract negotiation and reimbursement

  process. But these arguments run headlong into Regeneron’s well-pleaded allegations about harm

  to competition and harm to the Praluent® brand, and cannot be resolved at this stage. Finally,

  Amgen offers a grab bag of arguments about various other aspects of the rule-of-reason analysis—

  including the precise extent of market foreclosure, the anticompetitive agreements’ exact duration,



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  and the norms of rebating in the market (including Regeneron’s own practices). Regeneron’s

  Complaint includes plausible allegations on each of these points, which (especially given the

  context-specific nature of the rule-of-reason analysis) suffices to justify full and fair discovery.

         Amgen has ignored Regeneron’s allegations and improperly submitted an incomplete

  factual record comprising cherry-picked and heavily redacted contracts in a quixotic effort to stop

  the Court and Regeneron from learning the full scope of Amgen’s misconduct. The Court should

  not take the bait, and should instead deny the Motion to Dismiss in its entirety.

                                           BACKGROUND2

         In 2015, Regeneron’s life-saving medication, Praluent®, became the first FDA-approved

  PCSK9 inhibitor. Compl. ¶ 32. PCSK9 inhibitors treat high levels of LDL-C or “bad cholesterol”

  (which can lead to heart attacks and strokes) in patients whose high LDL-C levels cannot be

  managed through typical treatments, such as statins. Id. ¶¶ 30–31, 45, 129. Amgen’s Repatha® is

  also a PCSK9 inhibitor. Many physicians and patients prefer Praluent® over Repatha® because of

  Praluent®’s distinctive dosing options and positive health outcomes. See id. ¶¶ 33–41.

         Rather than compete against Praluent® on the merits, Amgen is using a below-cost, multi-

  product bundled rebate scheme to destroy Praluent®. In the PCSK9i market, patients receive

  Praluent® or Repatha® by paying a copayment at their pharmacies. Id. ¶ 46. Behind the scenes,

  patients’ insurers pay the pharmacies based on the drugs’ list price, and receive negotiated rebates

  from the manufacturers.3 Most insurance companies and the federal government rely on


  2
    As is required on a motion to dismiss, the following facts are taken from “only the allegations
  contained in the complaint, exhibits attached to the complaint and matters of public record.”
  Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014) (citing Pension Benefit Guar. Corp. v. White
  Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993)).
  3
    Praluent® and Repatha® are the only PCSK9 inhibitors subject to this process, comprising the
  “pharmacy-dispensed PCSK9i market” in the United States. Compl. ¶¶ 103–09. Unlike Repatha®
  and Praluent®, a third PCSK9 inhibitor, Leqvio®, is sold directly to doctors—not patients—for in-
  office subcutaneous injection twice annually for $3,250 per injection. Id. ¶¶ 42–44. As Regeneron
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  intermediaries, known as Third-Party Payors, to manage these negotiations. Id. ¶¶ 46–47.

  Placement on a Third-Party Payor’s official list of covered drugs—the “formulary”—is critical for

  patient access in the PCSK9i market. Id. ¶ 49. Formulary placement determines the amount

  patients will pay for the drug and what steps they must take to receive it, and doctors will ordinarily

  prescribe drugs with lower out-of-pocket costs and less hassle. Id. ¶¶ 49, 51, 54.

         In 2020, Amgen began offering bundled rebates on its blockbuster drugs Otezla® and

  Enbrel® conditioned on Third-Party Payors excluding Regeneron’s Praluent® from their

  formularies. Id. ¶ 68. Amgen acquired the monopoly product Otezla® in 2019 for $13.4 billion in

  an FTC-ordered divestiture sale and has since continued to increase Otezla®’s price without

  causing prescriptions to decrease. Id. ¶¶ 71, 113–18. Enbrel® is a $4 billion product and “one of

  the world’s most profitable drugs.” Id. ¶¶ 122–23. Amgen also has increased Enbrel®’s price

  substantially without meaningfully losing sales. Id. Due to their massive scale—Praluent®’s net

  sales are just 2.8 percent of Otezla® and Enbrel®’s—rebates on Otezla® and Enbrel® vastly exceed

  any rebates provided specific to the PCSK9i market. Id. ¶ 16.

         Amgen used these bundled rebates with dominant Third-Party Payors, ESI and Optum, in

  both the Commercial and Medicare Part D segments. Id. ¶ 53. For example, starting in June 2020,

  Amgen offered ESI Commercial $210 million in rebates on Otezla® and Enbrel® for just over a

  two-year period tied to excluding Praluent®. Id. ¶¶ 76–78. When the cost of these rebates are

  attributed to Repatha®’s sales at ESI Commercial, Amgen is pricing Repatha® below cost. Id.

  ¶¶ 89–94. These rebates devastated Praluent® and its market share at ESI Commercial declined

  nearly 80%. Id. ¶ 55. Amgen made similar offers at ESI Part D, Optum, and a number of smaller

  Third-Party Payors, all of which now provide exclusivity or de facto exclusivity to Repatha®. Id.



  explains in its Complaint, Leqvio® is not a substitute for Praluent® or Repatha®. Id. ¶¶ 107–08.
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  ¶¶ 81–86. Between these Third-Party Payors and additional spillover effects at the provider level,

  Amgen has now foreclosed Praluent® from more than 50 percent of the market. Id. ¶¶ 99–140.

  And Amgen’s misconduct continues. See, e.g., id. ¶¶ 86, 110, 261.

         Amgen’s anticompetitive bundling practices are harming competition, Regeneron, and

  patients who need Praluent®. If Regeneron matched Amgen’s rebate, Praluent® would become

  unprofitable. And, in any event, given its more limited portfolio of drugs, Regeneron cannot offer

  a similar bundled rebate. Id. ¶ 79. This year, Praluent® will be unprofitable and Regeneron may

  have to exit the market, which will deprive patients of Praluent®’s distinctive benefits and leave

  Repatha® as the only pharmacy-dispensed PCSK9 inhibitor, allowing Amgen free to leverage

  Repatha®’s monopoly power to recoup the costs of its improper bundled rebates. Id. ¶ 101.

                                     STANDARD OF REVIEW

         A complaint must contain only “a short and plain statement of the claim showing that the

  pleader is entitled to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (citation

  omitted). To survive a motion to dismiss, a plaintiff must plead sufficient allegations that, accepted

  as true and construed in the light most favorable to the plaintiff, “state a claim to relief that is

  plausible on its face.” Id. at 570. “The purpose of a motion to dismiss is to test the sufficiency of

  a complaint, not to resolve disputed facts or decide the merits of the case.” Adkins v. Rumsfeld,

  389 F. Supp. 2d 579, 584 (D. Del. 2005) (citing Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir.

  1993)) (emphasis added). The Supreme Court has made clear that there is no “‘heightened pleading

  standard’ [that] applies in antitrust cases” and it is improper for Amgen to invite this Court to “act

  as [a] gatekeeper[], and … subject pleadings in such cases to heightened scrutiny.” West Penn

  Allegheny Health System, Inc. v. UPMC, 627 F.3d 85, 98 (3d Cir. 2010) (quoting Twombly, 550

  U.S. at 569 n.14). The overwhelming majority of complex antitrust cases like this one can be

  resolved, therefore, only after discovery—as was the case in every Third Circuit antitrust case

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  Amgen cites4 and the out-of-Circuit antitrust case Amgen most heavily relies on.5

                                           ARGUMENT

  I.     AMGEN’S    EXTRA-RECORD    CONTRACTS   ARE                            PROCEDURALLY
         IMPROPER, INCOMPLETE, AND SELF-DEFEATING.

  A.     Amgen’s Confidential Extrinsic Evidence Cannot Be Considered.

         Amgen asks this Court not to accept Regeneron’s allegations as true. Rather than

  challenging whether the facts, as alleged, would state a claim for relief, Amgen denies those

  allegations on the merits, which is manifestly improper at the pleading stage. Amgen hinges its

  Motion on extrinsic materials that it claims disproves Regeneron’s case: confidential contracts


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    See FTC v. AbbVie Inc., 976 F.3d 327 (3d Cir. 2020) (trial); In re Wellbutrin XL Antitrust Litig.
  Indirect Purchaser Class, 868 F.3d 132 (3d Cir. 2017) (summary judgment); Eisai, Inc. v. Sanofi
  Aventis U.S., LLC, 821 F.3d 394 (3d Cir. 2016) (summary judgment); ZF Meritor, LLC v. Eaton
  Corp., 696 F.3d 254 (3d Cir. 2012) (trial); Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614
  F.3d 57 (3d Cir. 2010) (summary judgment); Santana Prods., Inc. v. Bobrick Washroom Equip.,
  Inc., 401 F.3d 123 (3d Cir. 2005) (summary judgment); LePage’s Inc. v. 3M, 324 F.3d 141 (3d
  Cir. 2003) (en banc) (summary judgment); SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056
  (3d Cir. 1978) (trial); Barr Labs., Inc. v. Abbott Labs., 978 F.2d 98 (3d Cir. 1992) (summary
  judgment). Numerous other cases from this Circuit and beyond—including some Amgen relies
  on—confirm how ill-suited cases like this one are for resolution on the pleadings. See, e.g.,
  Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 318 (3d Cir. 2007) (reversing dismissal of
  attempted monopolization claim); Roxul USA, Inc. v. Armstrong World Indus. Inc., 2019 WL
  1109868 (D. Del. Mar. 8, 2019) (denying summary judgment); Pfizer Inc. v. Johnson & Johnson,
  333 F. Supp. 3d 494 (E.D. Pa. 2018) (denying motion to dismiss); In re Suboxone (Buprenorphine
  Hydrochloride and Naloxone) Antitrust Litig., 2022 WL 3588024 (E.D. Pa., Aug. 22, 2022)
  (denying summary judgment); In Re Hypodermic Prod. Antitrust Litig., 2007 WL 1959224 (D.N.J.
  June 29, 2007) (denying motion to dismiss); Bradburn Parent/Tchr. Store, Inc. v. 3M, 2000 WL
  34003597 (E.D. Pa. July 25, 2003) (denying motion to dismiss); see also, e.g., Viamedia, Inc. v.
  Comcast Corp., 951 F.3d 429 (7th Cir. 2020) (reversing summary judgment); E.I. du Pont de
  Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435 (4th Cir. 2011) (reversing grant of motion to
  dismiss); In re Zetia (Ezetimibe) Antitrust Litig., 2022 WL 4355149 (E.D. Va. Sept. 14, 2022)
  (denying summary judgment); Altitude Sports & Entm’t, LLC v. Comcast Corp., 2020 WL
  8255520 (D. Colo. Nov. 25, 2020) (denying motion to dismiss in part).
  5
    See In re: EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., 44 F.4th
  959 (10th Cir. 2022) (summary judgment). Amgen fails to mention that EpiPen survived a motion
  to dismiss and, unlike this case, did not involve multi-product bundling or predatory pricing. See
  In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., 2017 WL
  6524839, at *19 (D. Kan. Dec. 21, 2017) (defendant’s “arguments merely foreshadow factual
  disputes that the court cannot resolve on a motion to dismiss”).
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  between Amgen and certain Third-Party Payors. D.I. 19, Exs. A–F. But such contracts cannot be

  considered on a motion to dismiss. Because these contracts are the centerpiece of Amgen’s Motion

  and its attempt to dispute Regeneron’s allegations, Amgen’s Motion falls apart without them.

         “To decide a motion to dismiss, courts generally consider only the allegations contained in

  the complaint, exhibits attached to the complaint and matters of public record.” Pension Ben. Guar.

  Corp., 998 F.2d at 1196. “[A] motion to dismiss neither allows for a factual narrative that

  supplements the four corners of the pleading nor a counter-narrative by the defendant.” In re

  Google Digital Advertising Antitrust Litig., 2022 WL 4226932, *3 (S.D.N.Y. Sept. 13, 2022).

  There is no dispute that Amgen’s heavily redacted and filed-under-seal contracts were not

  contained in the Complaint or attached to it and are not matters of public record.

         To justify this radical departure from basic procedure under Rule 12(b)(6) without opening

  the door to discovery (which Amgen simultaneously demands to stay), Amgen seeks to shoehorn

  its Motion into a very narrow exception that allows the Court to consider “an undisputedly

  authentic document that a defendant attaches as an exhibit to a motion to dismiss if the plaintiff’s

  claims are based on the document.” D.I. 18 at 9 (“Br.”) (quoting City of Pittsburgh v. W. Penn

  Power Co., 993 F. Supp. 332, 336 n.10 (W.D. Pa. 1993)). This narrow exception—known as the

  “integral documents exception” because it covers only “document[s] integral to or explicitly relied

  upon in the complaint”—“hold[s] a plaintiff accountable for the contents of documents it must

  have used in framing its complaint[.]” Schmidt, 770 F.3d at 249, 250 (citation omitted). The rule

  applies only “when the plaintiff fails to introduce a pertinent document as part of her pleading,”

  i.e., when the plaintiff could have introduced the document. 5A Wright & Miller, Fed. Prac. &

  Proc. § 1327. “The quintessential example of this exception is a breach of contract action; in such

  cases, the contract would be considered integral.” Decoration Design Sols. v. Amcor Rigid Plastic



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  USA, Inc., 2020 WL 6482696, at *3 (D.N.J. Oct. 26, 2020).

         The integral documents exception does not apply here, where Amgen attempts to inject

  confidential documents from its own files that Regeneron could not access and could not possibly

  have relied on when it drafted the Complaint. As the Third Circuit held, a “complaint was not

  ‘based’ on [such documents]” where the plaintiff “claim[ed] that he never saw [them] and

  disput[ed] that they were publicly posted[.]” Schmidt, 770 F.3d at 249-50. Even where “the

  Complaint repeatedly refers to the [documents],” another court explained that “Plaintiffs did not,

  and in fact could not, rely on those documents, because they were never disclosed to the public.”

  Tomaszewski v. Trevena, Inc., 482 F. Supp. 3d 317, 327 (E.D. Pa. 2020). “Because Plaintiffs did

  not have access to the disputed documents until Defendants attached them to the motion to

  dismiss,” that court concluded, “the documents could not have been integral to or explicitly relied

  upon in the Complaint,” and could not be considered. Id. at 327–28.6 The same is true here.

  Regeneron never had access to Amgen’s confidential contracts with PBMs before filing the

  Complaint—and in fact only received them in redacted form after Amgen filed the instant Motion.

  Amgen’s extra-pleading material therefore cannot be considered and should be stricken.



  6
    The two in-Circuit cases Amgen cites (Br. at 9) are not to the contrary, as they both involved
  evidence available to the plaintiff when the complaint was drafted and on which the plaintiff
  actually relied. See Warren Gen. Hosp. v. Amgen Inc., 2010 WL 2326254, at *1 n.2 (D.N.J. June
  7, 2010) (“[T]he parties agree that, as documents explicitly referred to and relied on by the
  Complaint, the contracts [between plaintiff and defendant] may be considered by the Court”), aff’d
  543 F.3d 77 (3d. Cir. 2011); City of Pittsburgh, 993 F. Supp. at 336 n.10 (relying on a “petition
  filed by the [plaintiff]” that was “specifically relied upon by the [plaintiff]”). Amgen also cites one
  out-of-Circuit case for support, Br. at 9 (citing Pro Search Plus, LLC v. VFM Leonardo, Inc., 2013
  WL 3936394 (C.D. Cal. July 30, 2013)), and offered a second case in a later letter to the Court,
  see D.I. 29 (citing Kingray, Inc. v. NBA, Inc., 188 F. Supp. 2d 1177, 1190 (S.D. Cal. 2002)). But
  those decisions do not address this issue in any depth, and Ninth Circuit precedent, just like Third
  Circuit precedent, allows extrinsic evidence only to “[p]revent[] plaintiffs from surviving a Rule
  12(b)(6) motion by deliberately omitting references to documents upon which their claims are
  based,” not to allow defendants to offer documents plaintiffs could not possibly have seen or relied
  on. Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998).
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         Amgen’s extrinsic materials are the sole support for the Motion’s central claim that Amgen

  does not bundle Otezla®, Enbrel®, and Repatha®, and does not condition bundled rebates on

  Repatha® exclusivity. This claim is the centerpiece of Amgen’s arguments attempting to dispute

  Regeneron’s allegations of exclusive dealing, substantial foreclosure, below-cost pricing, and

  coercive use of monopoly power. Br. at 12, 14, 17, 19, 22. Amgen is wrong, as discussed below;

  but of course, disputing the factual allegations, rather than their legal sufficiency, is not the proper

  role of a Rule 12(b)(6) motion. Nonetheless, Amgen has chosen to hang its Motion on those

  contracts. Without them, the Motion “must be denied in its entirety because, ... the stricken

  documents are so intertwined with and integral to the arguments raised in the motion that it is not

  possible to excise the[m] or parse the proper arguments from the improper.” Tomaszewski, 482 F.

  Supp. 3d at 329.

  B.     Amgen’s Incomplete Record Does Not Defeat Regeneron’s Allegations.

         Amgen’s effort also fails on its own terms. Even were the Court inclined to consider

  Amgen’s extrinsic evidence, it does not defeat Regeneron’s comprehensive allegations. Ignoring

  the actual allegations of the Complaint, Amgen likens this case to a simple contract dispute that

  can be resolved by reading the terms of Amgen’s contracts. But that is not the case. Regeneron’s

  allegations concerning Amgen’s anticompetitive conduct stretch far beyond the four corners of the

  few (redacted) contracts Amgen selected for its record. See, e.g., Compl. ¶¶ 66, 67.

         In complex antitrust cases like this one, courts do not rely solely on the terms of parties’

  written contracts and instead “look past the terms of the contract to ascertain the relationship

  between the parties and the effect of the agreement ‘in the real world.’” ZF Meritor, 696 F.3d at

  270 (quoting U.S. v. Dentsply Int’l, Inc., 399 F.3d 181, 191, 194 (3d Cir. 2005)); see Eastman

  Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 467 (1992) (“This Court has preferred to

  resolve antitrust claims on a case-by-case basis, focusing on the particular facts disclosed by the

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  record” and “the economic reality of the market at issue.” (citation omitted)); A.B.A. Jury Instr.

  Civ. Antitrust § 2.A.1. (“[T]he evidence need not show that its members entered into any formal

  or written agreement. The agreement itself may have been entirely unspoken.”).

         The Eighth Circuit, rejecting the ploy Amgen attempts here, explains why: “Perhaps there

  are aspiring monopolists foolish enough to reduce their entire anticompetitive agreement to

  writing,” the court hypothesized, “[b]ut most would-be monopolists probably can be expected to

  display a bit more guile, jotting down only a few seemingly common terms while sealing their true

  anticompetitive agreement with a knowing nod and wink.” In re Wholesale Grocery Prods., 752

  F.3d at 734. That case, like this one, “[was] not a contracts case in which the scope of the alleged

  anticompetitive agreement is cabined by the four corners of the written document[,]” and instead,

  “[plaintiff] could use all manner of extrinsic evidence to persuade a jury that what the [defendants]

  actually agreed to was [anticompetitive].” Id.

         Here, for example, consistent with the Complaint’s allegations, the evidence may show

  that Amgen reached a verbal agreement (perhaps alongside a written contract) to offer a

  substantially increased rebate rate on Enbrel® and/or Otezla® conditioned on excluding Praluent®.

  See Compl. ¶¶ 78, 84. This would constitute anticompetitive conduct, yet would be absent from

  Amgen’s partial record if Amgen had the “guile” to keep it out of the contract—which Amgen

  certainly had the motivation to do given that Regeneron sent Amgen a cease-and-desist letter

  before it signed its Optum contract. Id. ¶ 79 n.66.7

         Moreover, the attached Rule 56(d) affidavit describes key party, non-party, and expert




  7
   Not only was Amgen on notice from Regeneron, Amgen also faced allegations of anticompetitive
  multi-product rebates in a prior, unrelated case—giving Amgen all the more reason to mask its
  misconduct. Compl. ¶¶ 118 & n.97; see First Amended Complaint, Ortho Biotech Prods., L.P. v.
  Amgen, Inc., 2006 WL 3392939 (D.N.J. June 8, 2007).
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          consider incomplete records, especially on a motion to dismiss. It is not for Amgen
          unilaterally to decide what information—known only to Amgen—is pertinent for the
          court’s consideration, and what is not. If anything, Amgen’s refusal to include this
          information supports an inference that there are relevant provisions in those contracts, too,
          and that Amgen wants to hide them from scrutiny.

  x       Lay and expert testimony: Cases like this one thus routinely hinge on lay and expert
          testimony clarifying the nature of the relevant markets, the full terms of the parties’
          agreements, the context in which they were reached, and their anticompetitive effects.

          In summary, this dispute cannot be resolved by reading only Amgen’s chosen redacted

  contracts, and should instead proceed through the ordinary discovery process. See Castro v. Sanofi

  Pasteur Inc., 2012 WL 12516572, at *4 (D.N.J. Aug. 6, 2012) (“declin[ing] to consider [a] contract

  submitted with [a motion to dismiss]” where “Plaintiffs’ claims are not based on that single

  contract; they are based on the effect of a ‘web of contracts’ and other activities; it is the cumulative

  impact of the contracts and actions that is at the heart of Plaintiffs’ claims not any particular

  contract in isolation”).

  C.      The Redacted Contracts Amgen Improperly Attaches to its Motion Confirm the
          Plausibility of Regeneron’s Allegations.

          Although the Court should not consider the cherry-picked and heavily redacted documents

  Amgen attaches to its Motion, if the Court does review those materials, it will see that the contracts

  confirm the plausibility of what Regeneron has alleged, i.e., that Amgen used a multi-product

  rebate conditioned on exclusive coverage of Repatha®. Compl. ¶¶ 76–85. And the contracts flatly

  disprove Amgen’s misleading claim that “Otezla® rebates are independent of Repatha®.” Br. at 7.




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  surprise, since it was entered into after Regeneron put Amgen on notice of is anticompetitive

  conduct, Compl. ¶ 79 n.66—again confirming the need for full discovery.




                                            So while Amgen’s complex contracts call for further

  evidence and explanation, they strongly support Regeneron’s core allegation of a significant

  bundled rebate on Enbrel® and Otezla® conditioned on Repatha® exclusivity. Id. ¶¶ 87–94.

  II.    AMGEN’S REMAINING, FACT-INTENSIVE CHALLENGES FAIL TO MEET
         ITS HEAVY BURDEN FOR DISMISSAL.

         Amgen does little to dispute that Regeneron’s allegations, taken as true, plausibly state a

  claim. What Amgen instead offers are isolated, factual arguments that improperly rewrite

  Regeneron’s Complaint and are particularly misplaced here, where the applicable antitrust

  analysis—the rule of reason—demands “a fact-specific assessment of ‘market power and market

  structure ... to assess the [restraint]’s actual effect[.]’” Ohio v. Am. Express Co., 138 S. Ct. 2274,


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  2284 (2018) (alterations in original) (citation omitted). “There is no set formula” for this highly

  fact-intensive analysis, ZF Meritor, 696 F.3d at 271, and “courts must look to the monopolist’s

  conduct taken as a whole rather than considering each aspect in isolation[,]” LePage’s, 324 F.3d

  at 162. Under that analysis, and crediting the Complaint’s allegations as true, Regeneron plausibly

  alleges predatory pricing and a bundled rebate claim. See 3Shape, 2020 WL 2559777, at *8

  (“[W]here the [] complaint alleges not only that a defendant with market power offered a discount

  for purchasing products in multiple lines, but it also alleges facts supporting the allegation that the

  plaintiff ‘could not compete effectively’ if it matched the aggregate discount applied to a single

  line, I think it states a plausible bundled discounting claim.”) (citations omitted).11

  A.     Amgen Barely Contests Regeneron’s Allegations of Below-Cost Pricing.

         Amgen does little to dispute that, if Regeneron’s allegations of Amgen’s bundled rebates

  are taken as true—as they must be at this stage—Amgen offers a bundled rebate that results in

  below-cost pricing for Repatha®. Specifically, Regeneron alleges that “Amgen is pricing

  Repatha® below cost with the bundled rebate,” Compl. ¶¶ 89–94, which is “pushing Praluent®

  below a critical mass of market share necessary to ... remain viable,” and will allow Amgen “to

  make up for any losses it incurred,” id. ¶ 138. That is, Regeneron “allege[s] both (1) ‘that the prices

  complained of are below an appropriate measure of [the defendant’s] costs’; and (2) that the

  defendant had ‘a dangerous probability[] of recouping its investment in below-cost prices.”

  3Shape, 2020 WL 2559777, at *7 (quoting Brooke Grp. Ltd. v. Brown & Williamson Tobacco



  11
     Amgen’s one-sentence counter-factual claim that Regeneron could make a comparable offer,
  Br. at 20, is inadequate to raise the argument. See In re Seroquel XR (Extended Release Quetiapine
  Fumarate) Antitrust Litig., 2022 WL 2438934, at *14 (D. Del. July 5, 2022) (“[A] ‘passing
  reference to an issue will not suffice to bring that issue before this court.’” (citation omitted)). In
  any event, Regeneron alleges it could not offer a comparable bundle given the size and scope of
  its own product portfolio and distribution channels. Compl. ¶ 155. Amgen’s cursory mention of
  Dupixent® is unavailing as Regeneron does not control the marketing of that unrelated product.
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  Corp., 509 U.S. 209, 222–24 (1993)). See Compl. ¶¶ 163–182 (Counts Three and Four).

          Rather than accept Regeneron’s allegations as true, Amgen disputes their factual accuracy

  and argues that, because “Amgen does not condition Otezla® rebates on Repatha® coverage,” “the

  calculations in the Complaint ... cannot support Regeneron[.]” Br. at 19. Notably, Amgen does not

  deny that it conditions Enbrel® rebates on exclusive coverage of Repatha®—in a bundle that

  likewise requires exclusive coverage of Otezla®—and does not argue that, if Regeneron’s

  allegations are taken as true, the bundled rebate results in below-cost pricing. Since Amgen’s

  contracts cannot be considered (and, even so, support Regeneron), see supra at 7–10, 13–15,

  Amgen has no viable argument on this issue at this stage.

         Amgen’s remaining arguments regarding Regeneron’s allegations of predatory pricing

  amount to (1) a factual dispute about Regeneron’s allegations about the bundle’s effect on

  Regeneron, and (2) a suggestion that everything is changed by Leqvio®—but both arguments

  ignore Regeneron’s clear allegations addressing those facts. As to Amgen’s first argument, Amgen

  says that “Regeneron has not plausibly alleged that Praluent® is in dire straits or likely to exit the

  market.” Br. at 19. But Amgen cites nothing for its dangerous and unsupportable position that a

  company must be injured to death before it can bring suit.12 Amgen also ignores Regeneron’s

  allegations, which clearly state that Amgen’s actions are “fatal to Praluent®—which now stands to

  lose money in 2022” and are “pushing Praluent® below a critical mass of market share necessary

  to compete.” Compl. ¶¶ 137–38. Amgen’s stray citations to extra-record evidence of Praluent®’s




  12
     See 10 Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 348d1 (4th ed. 2018) (“The
  rival’s loss is compensable when it results from conduct that, if successful, would have caused the
  type of market damage the antitrust laws seek to prevent.”); see also Schuylkill Health Sys. v.
  Cardinal Health 200 LLC, 2014 WL 3746817, at *4 (E.D. Pa. July 30, 2014) (“[A]s the Third
  Circuit has repeatedly stated ... it is not necessary that all competition be removed from the
  market.”).
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  coverage by other Payors (Br. at 20) cannot overcome these well-pleaded allegations and, at most,

  suggest a factual dispute for a later stage. For now, Regeneron’s allegations of significant harm to

  the Praluent® brand—which involve issues peculiarly within Regeneron’s knowledge—plausibly

  show that Amgen’s “intended target [will] likely succumb.” Brooke Grp., 509 U.S. at 225.

         As to Amgen’s second argument, regarding Leqvio® (Br. at 20), Regeneron’s allegations

  thoroughly address Leqvio® and explain why it is not relevant to the analysis. E.g. Compl. ¶ 108.

  As Amgen admits, Leqvio® “is administered by healthcare providers and thus is a medical benefit,

  not a drug benefit that appears on drug formularies.” Br. at 7 n.7. Leqvio® therefore does not

  compete in the pharmacy-dispensed PCSK9i sub-market, and Amgen nowhere disputes this

  plausible market definition. Compl. ¶ 104. Even within the broader PCSK9i market, Regeneron

  alleges that “[u]nlike Praluent® and Repatha®, which are self-administered by patients once every

  two weeks ... , Leqvio® is administered by doctors twice a year” and “is not and will not be subject

  to the PBM contracting and rebating that drive patient access to Praluent® and Repatha®.” Id.

  ¶ 105; see id. ¶¶ 106–08 (Leqvio® further differs on mechanism of action and manufacture).13

  B.     Amgen Barely Contests Regeneron’s Allegations of Coercive Use of Market Power.

         Regeneron alleges that Amgen coercively bundles Repatha® with Otezla® and Enbrel®. To

  state a bundling claim, e.g. id. ¶¶ 142–162 (Counts One and Two), a plaintiff must allege

  “monopoly power in a relevant market” and “that the effect of the discounts is to ‘foreclose

  portions of the market to a potential competitor who does not manufacture an equally diverse group

  of products and who therefore cannot make a comparable offer.’” 3Shape, 2020 WL 2559777, at


  13
     That Regeneron discloses Leqvio® as a “Competitor Product” in a securities filing—as Amgen
  again reaches outside the Complaint to note, Br. at 20—cannot resolve this issue at this stage given
  Regeneron’s plausible competing allegations about Leqvio®. Compl. ¶ 108. In addition, “the mere
  fact that a firm may be termed a competitor in the overall marketplace does not necessarily require
  that it be included in the relevant product market for antitrust purposes.” FTC v. Sysco Corp., 113
  F. Supp. 3d 1, 26 (D.D.C. 2015) (citations omitted).
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  *7 (quoting LePage’s, 324 F.3d at 155). Regeneron’s Complaint more than clears this bar:

  Regeneron alleges that Otezla® has monopoly power and Enbrel® has market power, Compl.

  ¶¶ 113–23; that Amgen’s bundled rebates have “substantially foreclosed [Praluent®] from the

  PCSK9i market with no coverage from Third-Party Payors reimbursing 51 percent of

  prescriptions,” id. ¶ 20; and that Amgen’s rebates “cannot be matched by Regeneron, which lacks

  comparable products to Otezla® and Enbrel®,” id. ¶ 155.

         Amgen does not dispute that Otezla® has monopoly power, and this is enough to resolve

  this issue in Regeneron’s favor at this stage. Amgen argues only that, “[f]or Otezla®, the contracts

  show that Amgen does not condition Otezla® rebates on Repatha® coverage[,]” and that “to sustain

  its claims, Regeneron must plausibly allege that Enbrel® has a monopoly.” Br. at 22. Amgen adds

  that any bundled rebate on Enbrel® is “small” and there are “numerous alternatives to Enbrel®.”

  Br. at 17, 23.14 But, as discussed above, this Court cannot consider Amgen’s factual contentions

  about Otezla®, which rely solely on Amgen’s improperly submitted evidence—and which in fact

  show that (despite Amgen’s misrepresentations to the contrary) Otezla® is a critical part of the

  bundle. See supra at 7–10. Amgen has thus effectively conceded that Regeneron has sufficiently

  alleged that Amgen bundled Repatha® with a “product[] on which [Amgen] faced no competition”

  (Otezla®), which is all that is required. SmithKline, 575 F.2d at 1065 (defendant insulated its

  competitive product from price competition in violation of Sherman Act Section 2 by bundling

  rebates for that product with rebates for monopoly products); see LePage’s, 324 F.3d at 157.15



  14
     Amgen also suggests that “the threat of a lost discount” on a single product cannot suffice to
  show coercion. Br. at 17 (Eisai, 821 F.3d at 407). But just as in Dentsply and LePage’s, Regeneron
  plausibly alleges that Amgen’s bundled rebates on multiple, must-have products are coercive.
  Compl. ¶ 19; see Dentsply, 399 F.3d at 185; LePage’s, 324 F.3d at 173.
  15
     Amgen also does not acknowledge that its multi-product bundle design is exactly the type of
  anticompetitive “rebate wall” recognized by the FTC, since it forces Third-Party Payors to choose
  between Praluent® and the bundled rebate. See Compl. ¶ 136 & n.121 (citing the Federal Trade
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         Regeneron’s allegations about Enbrel® also suffice to plausibly allege coercive use of

  market power—a highly fact-specific inquiry. See ZF Meritor, 696 F.3d at 287 (putting the issue

  to a jury); 10 Areeda & Hovenkamp ¶ 1752e (“[T]he language of ‘coercion,’ … should be

  understood as inviting a specific factual inquiry.”). Market power is “the ability to raise prices

  above those that would otherwise prevail in a competitive market,” and can be assessed by

  considering, among other factors, “[b]arriers to entry.” FTC v. AbbVie, 976 F.3d at 371 (citation

  omitted); see, e.g., ABA Antitrust Section, Antitrust Law Devs. § 1B3 (9th ed. 2022) (citing 30%

  share as indicative of market power). Regeneron’s allegations about Enbrel® satisfy these

  requirements. First, Regeneron alleges that despite massive increases to Enbrel®’s list price, which

  have amounted to a 457 percent increase between 2002 and 2020, annual net sales of Enbrel® grew

  significantly over that period. Compl. ¶ 123. Second, Regeneron describes in detail (and Amgen

  chooses not to address) high barriers to entry in the rheumatoid arthritis market. Id. ¶¶ 124–28,

  131–33. Regeneron has thus adequately alleged Enbrel®’s market power, especially since market

  power is a question of fact ill-suited for pleading-stage resolution.

         Resisting this conclusion, Amgen notes that Regeneron did not provide market-share data,

  claims Regeneron’s well-pleaded Enbrel®-specific allegations involve the wrong time period, and

  cites growing competition from Humira®. See Br. at 22–24. But none of these arguments can defeat

  Regeneron’s allegations. First, because market power is a holistic inquiry taking into account

  indirect evidence of anticompetitive effects, “failure to allege a substantial market share is not

  itself fatal.” Brunson Commc’ns, Inc. v. Arbitron, Inc., 239 F. Supp. 2d 550, 569 (E.D. Pa. 2002).

  Second, Regeneron’s allegations of Enbrel®’s historical market power supports an inference of




  Commission’s report on rebate walls). The bundle will always win because any savings Regeneron
  can offer for Praluent® cannot offset the higher costs on Otezla® and Enbrel®. See id.
                                                   20
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  continued market power, especially since “declining market share … does not foreclose [] a

  finding” of market power. Le Page’s Inc. v. 3M, 2000 WL 280350, at *11 (E.D. Pa. Mar. 14, 2000).

  Third, the existence of competition from Humira® is not dispositive, as both Enbrel® and Humira®

  may possess market power. E.g., United States v. Visa U.S.A., Inc., 344 F.3d 229, 240 (2d Cir.

  2003) (both Visa and MasterCard had market power with “large shares of a highly concentrated

  market”). Amgen thus cannot defeat Regeneron’s allegations that Amgen’s anticompetitive

  bundled rebate includes products with monopoly power (Otezla®) and market power (Enbrel®).

  C.     Amgen’s Remaining, Fact-Intensive Challenges Fall Short.

         1.      Regeneron Plausibly Alleges Substantial Foreclosure.

         Regeneron alleged that Amgen’s bundled rebates at three Third-Party Payors (ESI

  Commercial, ESI Part D, and Optum Commercial) “account[s] for over 30 percent of the total

  PCSK9i market” and, combined with other smaller Third-Party Payors, results in Praluent® being

  “‘not covered’ on formularies of Payors accounting for at least 50 percent” of the relevant market,

  with still more foreclosure resulting from spillover effects at the prescriber level. Compl. ¶ 96.

  Nothing more is needed to plausibly allege substantial foreclosure at this stage. See, e.g., ZF

  Meritor, 696 F.3d at 286 (citing “foreclosure of 40% to 50%” as substantial).16 This is especially

  so given that Amgen does not dispute Repatha®’s own monopoly power in the PCSK9i market,

  Compl. ¶¶ 110–12, which increases the likelihood that Amgen’s conduct is unlawful. See United



  16
     See generally 3Shape, 2020 WL 2559777, at *6 (“Whether the foreclosure was in fact
  ‘substantial’ is a conclusion that does not need to be reached, and would be inappropriate to reach,
  at this stage of the litigation” as it “require[s] factual assessments and expert analyses that are
  inappropriate at the pleading stage.”); Ingevity Corp. v. BASF Corp., 2020 WL 1329604, at *2 (D.
  Del. Mar. 23, 2020) (Andrews, J.) (“[Substantial foreclosure] is a fact-intensive inquiry that is not
  properly disposed of before fact discovery.”); Johnson & Johnson, 333 F. Supp. 3d at 505 (finding
  such arguments “misplaced – or rather, mistimed” on a motion to dismiss); EpiPen, 2017 WL
  6524839, at *10 (“The question whether the alleged exclusive dealing arrangements foreclosed a
  substantial share of the market ... is not a proper function for the pleading stage.”).
                                                   21
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  States v. Microsoft Corp., 253 F.3d 34, 70 (D.C. Cir. 2001) (“[A] monopolist’s use of exclusive

  contracts … may give rise to a § 2 violation even though the contracts foreclose less than … 40%

  or 50% share[.]”); Dentsply, 399 F.3d at 187 (“Behavior that otherwise might comply with antitrust

  law may be impermissibly exclusionary when practiced by a monopolist.”).17

         Amgen’s dispute with this well-pleaded allegation relies solely on cases resolved after

  discovery and raises contested factual arguments inappropriate for resolution at this stage. Amgen

  bargains down Regeneron’s alleged market foreclosure by disputing its allegations about Optum

  Commercial and ESI Part D. As to Optum Commercial, Amgen points to its improperly submitted

  contracts to argue that “Regeneron does not plausibly allege that Amgen’s agreement with Optum

  Commercial conditions any rebate on Repatha® exclusivity.” Br. at 12. But this evidence cannot

  be considered, and in any event, construed in Regeneron’s favor, it supports Regeneron’s

  allegations. Supra at 7–15. As to ESI Part D, Amgen cannot cite its contract since it withheld that

  contract from its submission—the appropriate inference being that the contract undermines

  Amgen’s argument. Instead, Amgen can argue only that Regeneron’s allegations are “conclusory”

  and “implausible.” Br. at 11–12. But Regeneron alleged that ESI announced Repatha®’s exclusive

  formulary position for ESI Part D around the same time it made the same announcement for ESI

  Commercial, and that “formulary access decisions for [commercial and Part D plans] are generally

  made on a consistent or uniform basis,” including at ESI. Compl. ¶ 81. Taken as true and with

  inferences construed in its favor, Regeneron has plausibly alleged that Praluent®’s foreclosure at

  ESI Part D resulted from Amgen’s anticompetitive actions with ESI Commercial.18



  17
     The Third Circuit has recognized that foreclosure of 14.7% “may well offend the limitations
  which the Clayton Act places on exclusive contracts.” Am. Motor Inns, Inc. v. Holiday Inns, Inc.,
  521 F.2d 1230, 1252 (3d Cir. 1975); see Compl. ¶¶ 194–204 (pleading a Clayton Act claim).
  18
     That Amgen cites a different Third-Party Payor who treats the PCSK9i class differently for its
  commercial and Part D formularies cannot overcome the inference in favor of ESI’s uniform
                                                  22
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         With Optum Commercial and ESI Part D included in the calculation, Amgen cannot and

  does not dispute that Regeneron adequately alleges substantial foreclosure. Amgen’s remaining

  arguments challenging further foreclosure need not be resolved to deny Amgen’s Motion.

  Amgen’s arguments fail nonetheless. Amgen challenges Regeneron’s allegations regarding

  smaller Third-Party Payors (Br. at 14), but argues only that these allegations do not suffice to show

  substantial foreclosure if Optum Commercial and ESI Part D are taken out of the mix. Amgen

  offers little to directly challenge Regeneron’s clear allegations that these additional Third-Party

  Payors exclude Praluent® in favor of Repatha®. See Compl. ¶ 96. Similarly, Amgen’s footnoted

  rejection of Regeneron’s allegations of spillover foreclosure at the provider level (Br. at 14 n.13),

  offers little reason (beyond an out-of-Circuit “see” cite) for rejecting this plausible fact-specific

  allegation that Regeneron has yet to have any opportunity to prove. See Compl. ¶ 99.19

         2.      Regeneron Alleges Anticompetitive Agreements of Sufficient Duration.

         Amgen next takes issue with the duration of its agreements, contending that two-and-a-half

  year, terminable-at-will contracts lack sufficient duration to harm competition. Br. at 15–16. But

  Amgen’s position is contrary to controlling law. As this Court stated in 3Shape, “the Third Circuit

  has declined to take the position that the short duration and ease of termination of exclusive dealing

  contracts mean such agreements cannot violate the antitrust laws.” 2020 WL 6938054, at *2 n.2;

  see Dentsply, 399 F.3d at 194 (“[I]n spite of the legal ease with which the relationship can be

  terminated, the dealers have a strong economic incentive to continue carrying Dentsply’s teeth.”).



  treatment across its formularies in light of Regeneron’s ESI-specific allegations. Br. at 12.
  19
     Amgen also disputes Regeneron’s allegation that “even ‘equal’ formulary position [is] de facto
  exclusive.” Br. 12. But proving this fact-specific allegation will require discovery into, among
  other things, Amgen’s improper use of its salesforce to harm Praluent®. See Compl. ¶¶ 66–67; see,
  e.g., In re Surescripts Antitrust Litig., 2022 WL 2208914, at *10 (N.D. Ill. June 21, 2022) (“The
  same conditions present in ZF Meritor are present here, and for the same reasons, [defendant’s]
  [agreements] ... may be considered de facto exclusive deals.”).
                                                   23
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  The inquiry is a factual one, “weigh[ing] the probable effect of the contract on the relevant area of

  effective competition.” Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 329 (1961). “Even

  if the contracts [a]re short term and easily terminable” a plaintiff can allege that the contracts,

  “combined with the nature of the [] relevant markets ... had the effect of ... harming competition.”

  FTC v. Surescripts, LLC, 424 F. Supp. 3d 92, 104 (D.D.C. 2020). This is what Regeneron alleges.

  While the contracts’ duration “may be appropriate to consider in a final determination of whether

  the agreements unreasonably restrain trade[,]” it cannot defeat Regeneron’s allegations at this

  stage. United States v. Microsoft Corp., 1998 WL 614485, at *20 (D.D.C. Sept. 14, 1998).

         3.      Regeneron’s Own Practices Do Not Flip the Balance.

         Finally, Amgen points to Regeneron’s own exclusivity on certain formularies to argue that

  this swings the analysis in Amgen’s favor. See Br. at 17–18. But “the use of exclusive dealing by

  competitors of the defendant” is only “sometimes considered” in the rule-of-reason analysis, ZF

  Meritor, 696 F.3d at 272, and only to the extent that it “illuminates the ‘particular structure and

  circumstance of the industry at issue,’” EpiPen, 44 F.4th, at 963 (citation omitted); cf. Areeda &

  Hovenkamp ¶ 361 (explaining that courts reject in pari delicto defenses in antitrust). Here, while

  formulary exclusivity may not be foreign to the pharmaceutical industry, Regeneron plausibly

  alleges that Amgen’s below-cost, multi-product bundled rebating is a far cry from a garden-variety,

  single-product, above-cost rebate. See Compl. ¶ 69. Thus, as in ZF Meritor, although such

  “contracts were not uncommon in the industry, and were also utilized by [the plaintiff]” the alleged

  anticompetitive agreements were “unprecedented” and “represented a substantial departure from

  past practice.” ZF Meritor, 696 F.3d at 265, 288. At a minimum, as the jury trial in ZF Meritor

  further illustrates, the magnitude of Amgen’s departure from industry-standard practices and the

  effect of Regeneron’s own past practices can be determined only with a full evidentiary record

  including “considerable testimony” from market participants. Id. at 277.

                                                   24
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  III.   AMGEN IGNORES REGENERON’S DISTINCT STATE-LAW CLAIMS.

         Amgen also fails to explain why Regeneron’s state-law claims cannot stand on their own.

  Amgen ignores Regeneron’s detailed allegations supporting its California UPA claim, Compl.

  ¶¶ 219–29, arguing that “Regeneron has not ‘allege[d], in other than conclusionary terms, the

  defendant’s sales price, costs in the product, and costs of doing business,’ as the UPA requires,”

  Br. at 25. But UPA’s requirements for predatory pricing claims are less demanding than those

  under federal law, as UPA “does not require an anticompetitive impact or … dangerous probability

  of recoupment” and allows any method of calculating costs that is not “arbitrary or irrational”—

  Regeneron’s UPA claim should survive dismissal even if its federal claims do not. Rheumatology

  Diagnostics Lab., Inc. v. Aetna, Inc., 2013 WL 5694452, at *16–19 (N.D. Cal. Oct. 18, 2013)

  (allowing UPA claim to survive dismissal of federal claims). If Regeneron’s UPA claim survives,

  its UCL and tortious interference claims must survive, too, because they are independently fully

  supported by a predicate UPA violation.20 Likewise, it is reversible error to dismiss a Cartwright

  Act claim on the ground that “California’s antitrust statute [is] coextensive with the Sherman Act.”

  Samsung Elecs. Co., Ltd. v. Panasonic Corp., 747 F.3d 1199, 1205 n.4 (9th Cir. 2014). Yet Amgen

  does not acknowledge Regeneron’s well-pleaded Cartwright Act claim, Compl. ¶¶ 230–43, much

  less explain why it cannot survive if the federal claims are dismissed.

                                           CONCLUSION

         For the foregoing reasons, Amgen’s Motion to Dismiss should be denied.21




  20
     Compl. ¶¶ 205–18, 257–62; Br. at 25 (“Regeneron’s UCL claim is derivative of its antitrust
  claims” and its “tortious interference claim fails” because “absent an antitrust violation, there is
  no plausible claim that Amgen [acted] unfairly or unlawfully.”); see Aetna, 2013 WL 5694452, at
  *20 (UCL “borrows violations of other laws and treats them as independently actionable”).
  21
     At a minimum, Regeneron should be given the opportunity to amend its Complaint at least once
  before dismissal. See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 236 (3d Cir. 2008).
                                                  25
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